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         UNITED STATES DISTRICT COURT
                                 District of Kansas
                                   (Wichita Docket)

UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                      Case no. 6:20-cr-10077-JWB

ALLEN E. STANDISH,

                    Defendant.




                             INDICTMENT

THE GRAND JURY ALLEGES:

                                    COUNT ONE

                       18 U.S.C. § 922(g)(3) and § 924(a)(2)
        (Unlawful User of a Controlled Substance in Possession of a Firearm)

      On or about the 27th day of October, 2020, in the District of Kansas, the defendant,

                                 ALLEN E. STANDISH

knowing that he was an unlawful user of a controlled substance, as defined in 21 U.S.C. §

802, did knowingly possess a firearm, that is a, Spike’s Tactical, model ST15, multi-

caliber, rifle bearing serial number NSL-120501, which had been modified to function as

a machinegun, said firearm having been shipped and transported in interstate commerce.
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      The above act was in violation of Title 18, United States Code, Sections 922(g)(3)

and 924(a)(2).

                                            A TRUE BILL


November 18, 2020                           s/Foreperson
DATE                                        FOREPERSON OF THE GRAND JURY

STEPHEN R. MCALLISTER
UNITED STATES ATTORNEY

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                      It is requested that the trial be held in Wichita, KS




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